AO 440 (Rev. 12/09) Summons in a Civil Action


                                     UNITED STATES DISTRICT COURT
                                                              for the
                                                    Middle District
                                                __________ District of
                                                                    of Tennessee
                                                                       __________

                      Terpsehore Maras
                                                                )
                                                                )
                             Plaintiff
                                                                )
                                v.                              )       Civil Action No. 3:21-cv-00636
  US Dominion, Inc., Dominion Voting Systems, Inc.              )
     and Dominion Voting Systems Corporation                    )
                            Defendant
                                                                )


                                                SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address)

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         WK6WUHHW
         6XLWH
         'HQYHU&2


          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are:
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                  1ROHQVYLOOH5G
                  6XLWH
                  %UHQWZRRG71

       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



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Date:             08/17/2021
                                                                                     Signature of Clerkk orr Deputy Clerk




               Case 3:21-cv-00636 Document 7 Filed 08/17/21 Page 1 of 6 PageID #: 266
AO 440 (Rev. 12/09) Summons in a Civil Action (Page 2)

 Civil Action No. 3:21-cv-00636

                                                       PROOF OF SERVICE
                       (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           This summons for (name of individual and title, if any)
 was received by me on (date)                                         .

           u I personally served the summons on the individual at (place)
                                                                                  on (date)                          ; or

           u I left the summons at the individual’s residence or usual place of abode with (name)
                                                               , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual’s last known address; or

           u I served the summons on (name of individual)                                                                     , who is
           designated by law to accept service of process on behalf of (name of organization)
                                                                                  on (date)                          ; or

           u I returned the summons unexecuted because                                                                             ; or

           u Other (specify):
                                                                                                                                          .


           My fees are $                           for travel and $                 for services, for a total of $          0.00          .


           I declare under penalty of perjury that this information is true.


 Date:
                                                                                         Server’s signature



                                                                                       Printed name and title




                                                                                          Server’s address

 Additional information regarding attempted service, etc:




                 Case 3:21-cv-00636 Document 7 Filed 08/17/21 Page 2 of 6 PageID #: 267
AO 440 (Rev. 12/09) Summons in a Civil Action


                                     UNITED STATES DISTRICT COURT
                                                              for the
                                                    Middle District
                                                __________ District of
                                                                    of Tennessee
                                                                       __________

                      Terpsehore Maras
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                                                                )
                             Plaintiff
                                                                )
                                v.                              )       Civil Action No. 3:21-cv-00636
  US Dominion, Inc., Dominion Voting Systems, Inc.              )
     and Dominion Voting Systems Corporation                    )
                            Defendant
                                                                )


                                                SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address)

         'RPLQLRQ9RWLQJ6\VWHPV,QF
         WK6WUHHW
         6XLWH
         'HQYHU&2


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whose name and address are:
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                  1ROHQVYLOOH5G
                  6XLWH
                  %UHQWZRRG71

       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                           CLERK OF COURT
                                                                                     OURT
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Date:             08/17/2021
                                                                                     Signature
                                                                                        nature of Clerk or De
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                                                                                                                   Clerk
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               Case 3:21-cv-00636 Document 7 Filed 08/17/21 Page 3 of 6 PageID #: 268
AO 440 (Rev. 12/09) Summons in a Civil Action (Page 2)

 Civil Action No. 3:21-cv-00636

                                                       PROOF OF SERVICE
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           u I returned the summons unexecuted because                                                                             ; or

           u Other (specify):
                                                                                                                                          .


           My fees are $                           for travel and $                 for services, for a total of $          0.00          .


           I declare under penalty of perjury that this information is true.


 Date:
                                                                                         Server’s signature



                                                                                       Printed name and title




                                                                                          Server’s address

 Additional information regarding attempted service, etc:




                 Case 3:21-cv-00636 Document 7 Filed 08/17/21 Page 4 of 6 PageID #: 269
AO 440 (Rev. 12/09) Summons in a Civil Action


                                     UNITED STATES DISTRICT COURT
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                                                    Middle District
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                      Terpsehore Maras
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                             Plaintiff
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                                v.                              )       Civil Action No. 3:21-cv-00636
  US Dominion, Inc., Dominion Voting Systems, Inc.              )
     and Dominion Voting Systems Corporation                    )
                            Defendant
                                                                )


                                                SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address)

         'RPLQLRQ9RWLQJ6\VWHPV&RUSRUDWLRQ
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         6XLWH
         'HQYHU&2


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                  1ROHQVYLOOH5G
                  6XLWH
                  %UHQWZRRG71

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Date:             08/17/2021
                                                                                     Signature of Clerk oorr D
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                                                                                                               epuuty
                                                                                                                   t Clerk




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 Civil Action No. 3:21-cv-00636

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           u I returned the summons unexecuted because                                                                             ; or

           u Other (specify):
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 Date:
                                                                                         Server’s signature



                                                                                       Printed name and title




                                                                                          Server’s address

 Additional information regarding attempted service, etc:




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